   TROY G. SEXTON, OSB No. 115184
   Motschenbacher & Blattner LLP
   117 SW Taylor St., Ste. 300
   Portland, OR 97204
   (503) 417-0517 Direct
   (503) 417-0527 Facsimile
   tsexton@portlaw.com

   Of Proposed Attorneys for Debtor-in-Possession

                             UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF OREGON

   In re:                                             Bankruptcy Case Nos:
                                                      22-30388-thp11 (Lead Case)
   GUILDWORKS, LLC and                                22-30389-thp11
   GUILDWORKS-WORKS, LLC
                                                     Jointly Administered Under
                            Debtors.                  Case No. 22-30388-thp11

                                                      DECLARATION PURSUANT TO 11
                                                      USC § 1116 (1) (A)



               Pursuant to 11 U.S.C. § 1116(1)(A) and the Order and Notice Regarding

   Filing of Documents; and Notice of Proposed Dismissal [Docket No. 5], Marc

   Rickets, Manager of Debtor Guildworks, LLC hereby states that filed concurrently

   with this Declaration is a copy of the debtor’s (a) 2020 Federal Tax Return, (b) most

   recent balance sheet (c) most recent profit and loss statement and (d) most recent

   ////

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                                                                               MOTSCHENBACHER & BLATTNER LLP
                                                                                 117 SW Taylor Street, Suite 300
Page 1 of 1       DECLARATION PURSUANT TO 11 USC § 1116 (1) (A)                      Portland, Oregon 97204
{00511334:1}                                                                          Phone: 503-417-0500
                                                                                       Fax: 503-417-0501
                                                                                       www.portlaw.com
                           Case 22-30388-thp11      Doc 43    Filed 03/24/22
   statement of cash flows. Some of the financial documents, particularly the Balance

   Sheet, contain significant errors that will require amendment at a later date.



                                              /s/ MARC RICKETTS
   Dated: March 24, 2022                      Marc Ricketts, Manager, Guildworks LLC




                                                                            MOTSCHENBACHER & BLATTNER LLP
                                                                              117 SW Taylor Street, Suite 300
Page 2 of 1    DECLARATION PURSUANT TO 11 USC § 1116 (1) (A)                      Portland, Oregon 97204
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                                                                                    Fax: 503-417-0501
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                                    CERTIFICATE OF SERVICE

               I hereby certify that on the date below I served the foregoing

   DECLARATION PURSUANT TO 11 USC § 1116 (1) (A) on the parties listed

   below by electronic means through the Court's Case Management/Electronic Case

   File system on the date set forth below.

       •       US Trustee, Portland USTPRegion18.PL.ECF@usdoj.gov

   By mailing a copy of the above-named document to the following individuals in a

   sealed envelope, postage prepaid, on the date below.

       •       None.


   Dated: March 24, 2022.
                                                   MOTSCHENBACHER & BLATTNER LLP

                                                   /s/ TROY G. SEXTON
                                                   Troy G. Sexton, OSB No. 115184
                                                   (503) 417-0517 Direct
                                                   Of Proposed Attorneys for Debtor-in-
                                                   Possession




                                                                                MOTSCHENBACHER & BLATTNER LLP
                                                                                  117 SW Taylor Street, Suite 300
Page 1 of 1       CERTIFICATE OF SERVICE                                              Portland, Oregon 97204
{00511334:1}                                                                           Phone: 503-417-0500
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                                                          GuildWorks
                                                           Profit and Loss
                                                      January - December 2021


                                                                                                        TOTAL
Income
 4002 Design Revenue                                                                                 10,879.78
 4003 Project Revenue                                                                              1,712,147.81
 4004 Fabrication Revenue                                                                            42,926.37
 4005 Installation Revenue                                                                             1,478.16
 4008 Production Revenue                                                                             13,722.23
 4400 Refunds/Reimbursements
  4400-01 Customer Discounts                                                                            -845.32
 Total 4400 Refunds/Reimbursements                                                                      -845.32
 4461 Unapplied Cash Payment Income                                                                    5,673.81
 4462 Uncategorized Income                                                                                 0.01
 Payment Processing                                                                                      60.00
Total Income                                                                                      $1,786,042.85
Cost of Goods Sold
 5050 COGS - Project Management
  5050-01 COGS PM Wages                                                                              27,781.92
 Total 5050 COGS - Project Management                                                                27,781.92
 5100 COGS Design                                                                                     -2,053.24
  5100-01 COGS Blueprints / Reproduction                                                                448.09
  5100-03 COGS Design Wages                                                                         124,531.59
  5100-04 COGS Subcontract - Design                                                                  24,730.39
 Total 5100 COGS Design                                                                             147,656.83
 5120 COGS Fabrication
  5120-01 COGS Fabrication Materials                                                                   1,494.17
  5120-02 COGS Fabrication Supplies                                                                     629.27
  5120-03 COGS Fabrication Wages                                                                       4,164.51
  5120-04 COGS Fabrication Subcontractor                                                             66,697.08
  5120-24 COGS - Fabrication Subcontractor - Cable                                                   11,578.00
  Total 5120-04 COGS Fabrication Subcontractor                                                       78,275.08
 Total 5120 COGS Fabrication                                                                         84,563.03
 5130 COGS Install
  5130-01 COGS Install Materials                                                                    151,156.21
  5130-02 COGS Install Supplies                                                                        4,207.84
  5130-03 COGS Installation Wages                                                                   149,762.98
  5130-04 COGS Subcontract - Install                                                                 42,757.59
 Total 5130 COGS Install                                                                            347,884.62
 5140 COGS Inventory
  5140-01 COGS Inventory Materials                                                                     1,000.11
  5140-02 COGS Inventory Supplies                                                                       507.67
  5140-03 COGS Inventory Wages                                                                       19,943.26




                                       Cash Basis Wednesday, March 23, 2022 10:17 PM GMT-07:00             1/4
                                    Case 22-30388-thp11             Doc 43       Filed 03/24/22
                                                                                                       TOTAL
  5140-04 COGS Inventory Subcontractor                                                                5,214.96
 Total 5140 COGS Inventory                                                                           26,666.00
 5180 COGS Production
  5180-01 COGS Production Materials                                                                  35,126.27
  5180-02 COGS Production Supplies                                                                    3,097.47
  5180-03 COGS Production Wages                                                                      89,462.92
  5180-04 COGS Subcontract Production                                                                21,125.00
 Total 5180 COGS Production                                                                         148,811.66
 5200 COGS Travel
  5200-01 COGS Airfare                                                                               15,796.42
  5200-03 COGS Ground Transport                                                                      16,342.19
  5200-04 COGS Lodging                                                                               31,121.45
  5200-05 COGS Meals                                                                                  4,052.15
  5200-06 Per Diem (deleted)                                                                          8,581.35
  5200-07 COGS Mileage Reimbursements (deleted)                                                       4,619.89
 Total 5200 COGS Travel                                                                              80,513.45
 5300 COGS Misc                                                                                          13.41
  5304 COGS Equipment Purchase                                                                        7,180.67
  5305 COGS Equipment Rental                                                                         42,310.25
  5325 COGS Shipping, Freight & Delivery                                                             39,271.49
  5335 COGS Tool Purchase                                                                            13,609.23
  5340 COGS Training and License                                                                       115.00
  5345 COGS Wages - non-departmental                                                                 10,553.35
 Total 5300 COGS Misc                                                                               113,053.40
Total Cost of Goods Sold                                                                           $976,930.91
GROSS PROFIT                                                                                       $809,111.94
Expenses
 6000 Advertising / Marketing                                                                        30,242.99
 6010 Auto
  6010-02 Repairs / Maintenance (Auto)                                                                2,014.58
  6010-03 Lease for Van                                                                              12,390.51
  6010-04 Mileage for Van                                                                              404.95
 Total 6010 Auto                                                                                     14,810.04
 6020 Bank and Finance Charges
  6020-01 Bank Fees                                                                                   4,271.04
  6020-02 Merchant Processing Charges                                                                 2,541.43
  6020-03 QuickBooks Payments Fees                                                                    6,549.63
  6020-04 Loan Fees                                                                                   9,134.83
 Total 6020 Bank and Finance Charges                                                                 22,496.93
 6030 Dues / Subscriptions / Memberships                                                              2,646.58
 6040 Education / Training                                                                            2,832.47
 6060 Insurance
  6060-01 Auto Insurance                                                                              4,069.98
  6060-03 General Liability Insurance                                                                38,010.81
  6060-05 Professional Liability Insurance                                                           13,075.41
  6060-06 Workers Comp Insurance                                                                     16,618.80
 Total 6060 Insurance                                                                                71,775.00




                                        Cash Basis Wednesday, March 23, 2022 10:17 PM GMT-07:00           2/4
                                    Case 22-30388-thp11              Doc 43       Filed 03/24/22
                                                                                                    TOTAL
6070 Interest Expense
6070-01 Credit Card Interest                                                                      14,938.54
6070-02 Line Of Credit Interest                                                                     889.65
6070-03 Loan Interest                                                                            147,960.21
6070-05 Tax Interest                                                                               4,055.67
Total 6070 Interest Expense                                                                      167,844.07
6080 Legal & Professional Fees
6080-01 Accounting Fees                                                                           19,117.95
6080-02 Legal Fees                                                                                10,825.00
6080-03 Other Professional Fees                                                                   21,372.02
Total 6080 Legal & Professional Fees                                                              51,314.97
6090 Licenses & permits                                                                            3,275.00
6120 Postage / Shipping / Delivery                                                                 1,057.69
6130 Travel Expense
6130-01 Airfare                                                                                    1,604.51
6130-02 Ground Transportation                                                                      2,323.83
6130-05 Travel Meals                                                                                  -5.80
Total 6130 Travel Expense                                                                          3,922.54
6200 Rent Expense                                                                                 83,400.00
6210 Equipment Rental                                                                             11,568.74
6230 Recruiting Fees                                                                                969.90
6240 Technology Expense                                                                           30,541.03
6270 Supplies
6270-01 Design Supplies                                                                              40.56
6270-03 General / Facilities Supplies                                                              7,001.92
6270-04 Install Supplies                                                                            258.70
6270-05 Inventory Supplies                                                                          532.02
6270-06 Office Supplies                                                                             761.01
6270-07 Production Supplies                                                                         298.66
6270-08 COVID-19 Supplies                                                                           532.90
Total 6270 Supplies                                                                                9,425.77
6280 Tools / Equipment (Under $2500)                                                               1,239.93
6280-01 Design Tools / Equipment                                                                   2,201.98
6280-02 Fabrication Tools / Equipment                                                               238.99
6280-04 Inventory Tools / Equipment                                                                2,170.25
6280-05 Production Tools / Equipment                                                                461.40
Total 6280 Tools / Equipment (Under $2500)                                                         6,312.55
6290 Utilities Expenses                                                                             569.13
6290-01 Telephone / Internet                                                                       3,612.08
6290-02 Utilities                                                                                  7,374.40
6290-03 Waste Management                                                                            883.61
6290-04 Sustainability/Recycling                                                                     51.04
Total 6290 Utilities Expenses                                                                     12,490.26
6500 Wages                                                                                       389,690.52
6500-01 GW - Accounting / Office Mgmt / Admin                                                     25,378.36
6500-02 GW - Design                                                                                6,455.48
6500-03 GW - Fabrication                                                                            363.38
6500-05 GW - Installation                                                                          2,612.60




                                      Cash Basis Wednesday, March 23, 2022 10:17 PM GMT-07:00          3/4
                                     Case 22-30388-thp11           Doc 43       Filed 03/24/22
                                                                                                     TOTAL
  6500-06 GW - Internal Planning                                                                  35,665.38
  6500-07 GW - Inventory                                                                            5,018.04
  6500-08 GW - Other                                                                              13,726.19
  6500-09 GW - Production                                                                           2,500.89
  6500-10 GW - Sales & Marketing                                                                  41,176.11
  6500-11 GW - Training & HR                                                                        4,750.83
 Total 6500 Wages                                                                                527,337.78
 6510 Employee Benefits
  6510-01 Employee Health / Wellness                                                                1,542.72
  6510-02 Health Insurance                                                                        43,385.73
 Total 6510 Employee Benefits                                                                     44,928.45
 6520 Payroll Processing Fees                                                                       1,432.35
 6530 Payroll Taxes                                                                               96,692.13
 6550 Taxes
  6550-02 State Taxes                                                                                150.00
 Total 6550 Taxes                                                                                    150.00
 6600 Improvements                                                                                  1,757.82
 6610 Repairs and Maintenance                                                                       1,915.70
 6720 Donations                                                                                     1,854.00
 6780 Unapplied Cash Bill Payment Expense                                                         19,981.15
 6790 Uncategorized Expense                                                                       35,877.22
Total Expenses                                                                                 $1,258,853.13
NET OPERATING INCOME                                                                           $ -449,741.19
Other Expenses
 9000 Ask My Accountant                                                                            -4,902.70
Total Other Expenses                                                                             $ -4,902.70
NET OTHER INCOME                                                                                  $4,902.70
NET INCOME                                                                                     $ -444,838.49




                                    Cash Basis Wednesday, March 23, 2022 10:17 PM GMT-07:00             4/4
                                   Case 22-30388-thp11           Doc 43       Filed 03/24/22
                                                            GuildWorks
                                                      Statement of Cash Flows
                                                  March 15, 2021 - March 14, 2022


                                                                                                                                  TOTAL
OPERATING ACTIVITIES
 Net Income                                                                                                                    -94,894.22
 Adjustments to reconcile Net Income to Net Cash provided by operations:
 1100 Accounts Receivable                                                                                                      -67,626.76
 1120 Uncategorized Asset                                                                                                      -36,123.43
 1280 Allowance for Bad Debts                                                                                                       50.00
 1400 Vendor Retainers/Prepayments                                                                                              -1,675.00
 1520 Fixed Assets:Accumulated Depreciation                                                                                       467.00
 2100 Accounts Payable                                                                                                          83,821.48
 2105 Accounts Payable:Employee Reimbursements                                                                                   1,415.34
 2202 Amazon cc - 5799                                                                                                           1,243.10
 2205 Capital One - 4777                                                                                                         3,708.47
 2206 Chase - 9572                                                                                                               6,371.95
 2208 Home Depot Credit - 0089                                                                                                  -2,901.98
 2209 US Bank - 3899                                                                                                            -4,000.52
 2210 US Bank - 6827                                                                                                             7,999.59
 2211 American Express - 11005                                                                                                   6,245.00
 2212 Chase - 7376                                                                                                              25,324.55
 2213 CitiCard - 5788                                                                                                           11,292.09
 2214 BofA Alaska Card - 6992                                                                                                    3,135.68
 2300 Business Reserve Line - 4892                                                                                               2,179.99
 2500 Payroll Payables                                                                                                          -7,409.78
 2500-01 Payroll Payables:IRS 941                                                                                              178,009.46
 2500-02 Payroll Payables:Oregon SIT                                                                                           -33,423.72
 2500-021 Payroll Payables:Oregon SIT:Oregon SIT Current                                                                        12,630.71
 2500-022 Payroll Payables:Oregon SIT:Oregon SIT Past                                                                           36,335.07
 2500-023 Payroll Payables:Oregon SIT:Oregon SIT Past Secured                                                                   38,001.20
 2500-03 Payroll Payables:Federal Quarterly Tax Liability                                                                         248.46
 2500-04 Payroll Payables:State Quarterly Tax Liability                                                                           743.11
 2500-0411 Payroll Payables:State Quarterly Tax Liability:State Quarterly OR Transit Tax Liability:State Quarterly OR               47.64
 Transit Tax Liability - Current
 2500-0412 Payroll Payables:State Quarterly Tax Liability:State Quarterly OR Transit Tax Liability:State Quarterly OR             287.53
 Transit Tax Liability - Past
 2500-0413 Payroll Payables:State Quarterly Tax Liability:State Quarterly OR Transit Tax Liability:State Quarterly OR             252.51
 Transit Tax Liability - Past Secured
 2500-0421 Payroll Payables:State Quarterly Tax Liability:State Quarterly Tri-Met Transit Tax Liability:State Quarterly Tri-      280.29
 Met Transit Tax Liability - Current
 2500-0422 Payroll Payables:State Quarterly Tax Liability:State Quarterly Tri-Met Transit Tax Liability:State Quarterly Tri-     2,698.51
 Met Transit Tax Liability - Past
 2500-0423 Payroll Payables:State Quarterly Tax Liability:State Quarterly Tri-Met Transit Tax Liability:State Quarterly Tri-     4,199.82
 Met Transit Tax Liability - Past Secured
 2500-0430 Payroll Payables:State Quarterly Tax Liability:State Quarterly Unemployment Tax Liability                              240.78
 2500-0440 Payroll Payables:State Quarterly Tax Liability:WBF State Quarterly Tax Liability                                         23.50
 2500-05 Payroll Payables:State Garnishment                                                                                       -294.10
 2500-07 Payroll Payables:OR Saves                                                                                               4,925.74


                                            Wednesday, March 23, 2022 10:21 PM GMT-07:00                                             1/2
                                    Case 22-30388-thp11               Doc 43       Filed 03/24/22
                                                                                                      TOTAL
  2600 Employee Payroll Payable                                                                   -109,704.05
  2700 Retainer                                                                                     -5,000.00
  2800-04 Loan Payable:FundBox Loan                                                                 11,043.73
  2800-06 Loan Payable:Biz Loan                                                                    -15,880.05
  2800-09 Loan Payable:Union Funding                                                               -13,801.35
  2800-10 Loan Payable:Simply Equities Loan                                                           -589.51
  2800-14 Loan Payable:Smarter Merc loan                                                          -186,370.00
  2800-15 Loan Payable:Iruka Loan                                                                     -800.00
  2800-16 Loan Payable:Ace Funding Source                                                           28,923.00
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:                     -13,454.95
Net cash provided by operating activities                                                                  $-
                                                                                                   108,349.17
INVESTING ACTIVITIES
 1502 Fixed Assets:Technology Equipment                                                             -4,599.00
 1301 Fabric stock                                                                                     -75.98
 1302 Inst/Prod Equipment                                                                           -4,200.00
 1303 Inst/Production Stock                                                                         -9,696.36
Net cash provided by investing activities                                                                  $-
                                                                                                    18,571.34
FINANCING ACTIVITIES
 2900-02 Notes Payable:Judith Ricketts                                                              50,788.28
 2900-05 Notes Payable:SEDF Loan 1 (CU2122)                                                        -22,843.78
 2900-06 Notes Payable:SEDF Loan 2 (2206)                                                          -15,495.05
 2900-07 Notes Payable:SEDF Loan 3 (2306)                                                           -7,861.30
 2900-08 Notes Payable:Mar Loan to GW                                                               -3,125.60
 2900-09 Notes Payable:SEDF Loan 4 (EL2411)                                                           -408.96
 2900-10 Notes Payable:SBA Loan EIDL                                                               150,000.00
 2910-2 Payroll Tax Payable OLD:OR SIT OLD                                                           2,255.12
 2910-4 Payroll Tax Payable OLD:Quarterly OR State Taxes OLD                                         7,272.02
 Payroll Tax Payable OLD:To Sort - OLD                                                               5,885.53
 3100-01 Owner's Equity:M.R. Contributions                                                            -405.00
Net cash provided by financing activities                                                         $166,061.26
NET CASH INCREASE FOR PERIOD                                                                       $39,140.75
Cash at beginning of period                                                                         66,855.64
CASH AT END OF PERIOD                                                                             $105,996.39




                                             Wednesday, March 23, 2022 10:21 PM GMT-07:00                2/2
                                      Case 22-30388-thp11           Doc 43       Filed 03/24/22
                                                         GuildWorks
                                                           Balance Sheet
                                                        As of March 14, 2022


                                                                                                     TOTAL
ASSETS
 Current Assets
 Bank Accounts
  1000 Checking - 4892                                                                             46,188.09
  1001 Payroll Checking - 5055 GW-WORKS                                                            37,383.94
  1010 PayPal                                                                                      22,424.36
  1020 Paid by Loans Clearing Acct                                                                      0.00
  1030-02 Rivermark GW-W 1800                                                                           0.00
  1050 Petty Cash on Hand                                                                               0.00
 Total Bank Accounts                                                                             $105,996.39
 Accounts Receivable
  1100 Accounts Receivable                                                                              0.00
 Total Accounts Receivable                                                                             $0.00
 Other Current Assets
  1110 Undeposited Funds                                                                                0.00
  1120 Uncategorized Asset                                                                         36,123.43
  1200 Employee Advances                                                                                0.00
  1250 Loan Origination Fees                                                                            0.00
  1280 Allowance for Bad Debts                                                                        -50.00
  1400 Vendor Retainers/Prepayments                                                                 1,675.00
 Total Other Current Assets                                                                       $37,748.43
 Total Current Assets                                                                            $143,744.82
 Fixed Assets
 1500 Fixed Assets
  1501 Furniture                                                                                    5,571.57
  1502 Technology Equipment                                                                        88,042.69
  1520 Accumulated Depreciation                                                                   -34,297.00
 Total 1500 Fixed Assets                                                                           59,317.26
 Total Fixed Assets                                                                               $59,317.26
 Other Assets
 1300 Fabric assets                                                                               432,438.48
 1301 Fabric stock                                                                                 -8,731.64
 1302 Inst/Prod Equipment                                                                         296,551.54
 1303 Inst/Production Stock                                                                        40,471.92
 1304 Security Deposits                                                                            16,282.00
 Total Other Assets                                                                              $777,012.30
TOTAL ASSETS                                                                                     $980,074.38




                                      Cash Basis Wednesday, March 23, 2022 10:19 PM GMT-07:00           1/4
                                     Case 22-30388-thp11           Doc 43       Filed 03/24/22
                                                                                                      TOTAL
LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   2100 Accounts Payable                                                                              420.28
    2105 Employee Reimbursements                                                                     1,415.34
   Total 2100 Accounts Payable                                                                       1,835.62
  Total Accounts Payable                                                                            $1,835.62
  Credit Cards
   2202 Amazon cc - 5799                                                                             3,490.02
   2205 Capital One - 4777                                                                           6,257.18
   2206 Chase - 9572                                                                                 9,712.37
   2208 Home Depot Credit - 0089                                                                    -1,953.73
   2209 US Bank - 3899                                                                               9,328.42
   2210 US Bank - 6827                                                                              26,989.58
   2211 American Express - 11005                                                                     6,245.00
   2212 Chase - 7376                                                                                25,324.55
   2213 CitiCard - 5788                                                                             20,583.28
   2214 BofA Alaska Card - 6992                                                                     16,596.72
  Total Credit Cards                                                                              $122,573.39
  Other Current Liabilities
   2300 Business Reserve Line - 4892                                                                 3,100.00
   2500 Payroll Payables                                                                                 0.00
    2500-01 IRS 941                                                                                263,573.77
    2500-02 Oregon SIT                                                                                   0.00
     2500-021 Oregon SIT Current                                                                    12,630.71
     2500-022 Oregon SIT Past                                                                       36,335.07
     2500-023 Oregon SIT Past Secured                                                               38,001.20
    Total 2500-02 Oregon SIT                                                                        86,966.98
    2500-03 Federal Quarterly Tax Liability                                                          1,238.67
    2500-04 State Quarterly Tax Liability                                                            2,216.48
     2500-0410 State Quarterly OR Transit Tax Liability
      2500-0411 State Quarterly OR Transit Tax Liability - Current                                      47.64
      2500-0412 State Quarterly OR Transit Tax Liability - Past                                       287.53
      2500-0413 State Quarterly OR Transit Tax Liability - Past Secured                               252.51
     Total 2500-0410 State Quarterly OR Transit Tax Liability                                         587.68
     2500-0420 State Quarterly Tri-Met Transit Tax Liability
      2500-0421 State Quarterly Tri-Met Transit Tax Liability - Current                               280.29
      2500-0422 State Quarterly Tri-Met Transit Tax Liability - Past                                 2,698.51
      2500-0423 State Quarterly Tri-Met Transit Tax Liability - Past Secured                         4,199.82
     Total 2500-0420 State Quarterly Tri-Met Transit Tax Liability                                   7,178.62
     2500-0430 State Quarterly Unemployment Tax Liability                                             240.78
     2500-0440 WBF State Quarterly Tax Liability                                                        23.50
    Total 2500-04 State Quarterly Tax Liability                                                     10,247.06
    2500-05 State Garnishment                                                                            0.00
    2500-06 State Garnishment DOR                                                                        0.00
    2500-07 OR Saves                                                                                 4,925.74




                                       Cash Basis Wednesday, March 23, 2022 10:19 PM GMT-07:00           2/4
                                     Case 22-30388-thp11               Doc 43    Filed 03/24/22
                                                                                                     TOTAL
  Total 2500 Payroll Payables                                                                    366,952.22
  2600 Employee Payroll Payable                                                                  -110,571.12
  2700 Retainer                                                                                         0.00
  2800 Loan Payable                                                                                     0.00
   2800-01 Kabbage Loan                                                                                 0.00
   2800-04 FundBox Loan                                                                           18,451.08
   2800-06 Biz Loan                                                                               -93,692.05
   2800-07 Funding Metric Loan                                                                          0.00
   2800-09 Union Funding                                                                           -8,450.03
   2800-10 Simply Equities Loan                                                                      -589.51
   2800-11 Forward Financing                                                                            0.00
   2800-12 Quick Fix Capital                                                                            0.00
   2800-13 Newco Capital                                                                                0.00
   2800-14 Smarter Merc loan                                                                          -70.00
   2800-15 Iruka Loan                                                                                -800.00
   2800-16 Ace Funding Source                                                                     28,923.00
  Total 2800 Loan Payable                                                                         -56,227.51
 Total Other Current Liabilities                                                                $203,253.59
Total Current Liabilities                                                                       $327,662.60
Long-Term Liabilities
 2900 Notes Payable
  2900-02 Judith Ricketts                                                                        205,529.77
  2900-04 Doug Balk                                                                                 9,000.00
  2900-05 SEDF Loan 1 (CU2122)                                                                    26,755.43
  2900-06 SEDF Loan 2 (2206)                                                                      40,763.74
  2900-07 SEDF Loan 3 (2306)                                                                      33,612.12
  2900-08 Mar Loan to GW                                                                           -4,303.59
  2900-09 SEDF Loan 4 (EL2411)                                                                    14,591.04
  2900-10 SBA Loan EIDL                                                                          300,000.00
  2900-11 SBA PPP Loan                                                                           152,759.00
 Total 2900 Notes Payable                                                                        778,707.51
 2910 Payroll Tax Payable OLD
  2910-1 IRS 941 OLD                                                                              -62,017.87
  2910-2 OR SIT OLD                                                                                     0.00
  2910-3 IRS Quarterly 940                                                                          2,894.65
  2910-4 Quarterly OR State Taxes OLD                                                                   0.00
  To Sort - OLD                                                                                  142,859.19
 Total 2910 Payroll Tax Payable OLD                                                               83,735.97
Total Long-Term Liabilities                                                                     $862,443.48
Total Liabilities                                                                              $1,190,106.08
Equity
3000 Retained Earnings                                                                           -936,703.27
3100 Owner's Equity
 3100-01 M.R. Contributions                                                                      532,497.96
 3100-03 Draws - Mar                                                                                    0.00
Total 3100 Owner's Equity                                                                        532,497.96
3400 Opening Balance Equity                                                                             0.00




                                    Cash Basis Wednesday, March 23, 2022 10:19 PM GMT-07:00             3/4
                                   Case 22-30388-thp11           Doc 43       Filed 03/24/22
                                                                                                 TOTAL
 Net Income                                                                                  194,173.61
 Total Equity                                                                              $ -210,031.70
TOTAL LIABILITIES AND EQUITY                                                                $980,074.38




                                Cash Basis Wednesday, March 23, 2022 10:19 PM GMT-07:00             4/4
                               Case 22-30388-thp11           Doc 43       Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form    8879-S                                                 IRS e-file Signature Authorization for Form 1120-S
                                                                            ERO must obtain and retain completed Form 8879-S.
                                                                                                                                                                                                                              OMB No. 1545-0123



    Department of the Treasury
    Internal Revenue Service
                                                                          Go to www.irs.gov/Form8879S for the latest information.
                                                          For calendar year 2020, or tax year beginning           , and ending                                                                                       .
                                                                                                                                                                                                                                 2020
    Name of corporation                                                                                                                                                                              Employer identification number
       GUILDWORKS, LLC                                                                                                                                                                              XX-XXXXXXX
       Part I               Tax Return Information (Whole dollars only)
       1    Gross receipts or sales less returns and allowances (Form 1120-S, line 1c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               1            2,005,815
       2    Gross profit (Form 1120-S, line 3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     2              960,911
       3    Ordinary business income (loss) (Form 1120-S, line 21) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3             -308,512
       4    Net rental real estate income (loss) (Form 1120-S, Schedule K, line 2) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       4
       5    Income (loss) reconciliation (Form 1120-S, Schedule K, line 18) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                5              -310,984
       Part II              Declaration and Signature Authorization of Officer (Be sure to get a copy of the corporation's return)

    Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's
    2020 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true,
    correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation's
    electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
    send the corporation's return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
    transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
    the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
    institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
    the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
    1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
    in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
    issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
    income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.

    Officer's PIN: check one box only

               X     I authorize                 BB TAX & ACCOUNTING, LLC                                                                                                  to enter my PIN                     41732 as my signature
                                                                                             ERO firm name                                                                                            Don’t enter all zeros
                     on the corporation's 2020 electronically filed income tax return.

                     As an officer of the corporation, I will enter my PIN as my signature on the corporation's 2020 electronically filed income tax
                     return.


    Officer's signature                                                                                                            Date            02/03/22                      Title
                                                                                                                                                                                                  PRESIDENT
                               MARC RICKETTS
       Part III             Certification and Authentication

    ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                                                                                        93377067890
                                                                                                                                                                                         Don’t enter all zeros

    I certify that the above numeric entry is my PIN, which is my signature on the 2020 electronically filed income tax return for the
    corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
    Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
    Returns.


    ERO's signature                    DANICA R. SWANSON, CPA                                                                                             Date            02/03/22

                                                                     ERO Must Retain This Form — See Instructions
                                                               Don't Submit This Form to the IRS Unless Requested To Do So

    For Paperwork Reduction Act Notice, see instructions.                                                                                                                                                                     Form   8879-S (2020)




    DAA




                                                                        Case 22-30388-thp11                                         Doc 43                 Filed 03/24/22
19129 02/03/2022 2:00 PM




         Form                                          1120-S                                           U.S. Income Tax Return for an S Corporation
                                                                                                                                                                                                                                                   OMB No. 1545-0123


            Department of the Treasury
            Internal Revenue Service
                                                           Do not file this form unless the corporation has filed or
                                                          is attaching Form 2553 to elect to be an S corporation.
                                                   Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                                                      2020
            For calendar year 2020 or tax year beginning               , ending
            A                                       S election effective date                         Name                                                                                                                  D      Employer identification number
                                                    01/01/18                            TYPE
                                                                                                      GUILDWORKS, LLC
            B                                       Business activity code                                                                                                                                                        XX-XXXXXXX
                                                    number (see instructions)
                                                                                        OR            Number, street, and room or suite no. If a P.O. box, see instructions.                                                E      Date incorporated
                                                    711510                                            13522 SE PHEASANT CT                                                                                                        01/01/2018
           C                                        Check if Sch. M-3                   PRINT         City or town, state or province, country, and ZIP or foreign postal code                                              F      Total assets (see instructions)
                                                    attached                                          MILWAUKIE                                              OR 97222
                                                                                                                                                                                                                                                   $                  923,551
         G Is the corporation electing to be an S corporation beginning with this tax year?                                                                                   Yes X No                              If "Yes," attach Form 2553 if not already filed
         H Check if: (1)          Final return                  (2)                Name change (3)                                    Address change (4)                                   Amended return (5)                                    S election termination or revocation
         I Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                              1
         J Check if corporation: (1)                      Aggregated activities for section 465 at-risk purposes                                                         (2)               Grouped activities for section 469 passive activity purposes
         Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
             1a Gross receipts or sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           1a                     2,005,815
              b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              1b
              c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       1c          2,005,815
    Income




             2 Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               2           1,044,904
             3 Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           3               960,911
             4 Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    4
             5 Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 5
             6 Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        6                960,911
             7 Compensation of officers (see instructions–attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                        7                138,397
    Deductions (see instructions for limitations)




             8 Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    8                222,424
             9 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             9                     2,063
            10 Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           10
            11 Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     11               132,000
            12 Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    12                 85,680
            13 Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         13               362,738
            14 Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                   14                 32,362
            15 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                          15
            16 Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           16                 22,887
            17 Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  17
            18 Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               18                 24,713
            19 Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See                                                Stmt
                                                                                                                                                                                           ...........................           1                   19               246,159
            20 Total deductions. Add lines 7 through 19 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        20          1,269,423
            21 Ordinary business income (loss). Subtract line 20 from line 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       21            -308,512
           22a Excess net passive income or LIFO recapture tax (see instructions) . . . . . . . . . . . . . . . . . . . . . . 22a
              b Tax from Schedule D (Form 1120-S) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22b
              c Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             22c
    Tax and Payments




           23a 2020 estimated tax payments and 2019 overpayment credited to 2020 . . . . . . . . . . . . . . . . . . . 23a
              b Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23b
              c Credit for federal tax paid on fuels (attach Form 4136) . . . . . . . . . . . . . . . . . . . . . . . . . . 23c
              d Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23d
              e Add lines 23a through 23d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           23e
                                                    24    Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      24
                                                    25    Amount owed. If line 23e is smaller than the total of lines 22c and 24, enter amount owed . . . . . . . . . . . . . . . . . . . .                                     25
                                                    26    Overpayment. If line 23e is larger than the total of lines 22c and 24, enter amount overpaid . . . . . . . . . . . . . . . . . . .                                    26
                                                    27    Enter amount from line 26: Credited to 2021 estimated tax                                             Refunded                                                        27
                                                           Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements,                         May the IRS discuss this return with the preparer
                                                           and to the best of my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer)
                                                           is based on all information of which preparer has any knowledge.                                                                                 shown below? See instructions.               X   Yes            No

         Sign                                                                                                                                                                                                  PRESIDENT
         Here                                                    Signature of officer        MARC RICKETTS                                                                     Date                        Title
                                                                    Print/Type preparer's name                                 Preparer's signature                                              Date                      Check             if      PTIN

         Paid                                                       DANICA R. SWANSON, CPA                                       DANICA R. SWANSON, CPA                                         02/03/22                   self-employed             P00313124
         Preparer                                                    Firm's name          BB TAX & ACCOUNTING, LLC                                                                                              Firm's EIN            XX-XXXXXXX
         Use Only                                                    Firm's address       14819 SE 82ND DRIVE
                                                                                          CLACKAMAS, OR           97015                                                                                         Phone no.       503-342-2015
         For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                           Form    1120-S (2020)
         DAA



                                                                                                      Case 22-30388-thp11                             Doc 43             Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form 1120-S (2020)                             GUILDWORKS, LLC                                                                                                                                 XX-XXXXXXX                                                                                     Page 2
     Schedule B                            Other Information (see instructions)
      1        Check accounting method:                                  a             Cash               b X Accrual                                                                                                                                                                          Yes No
                                                                         c             Other (specify)                        ..............................................................................
      2   See the instructions and enter the:
          a Business activity DESIGN              ........................................                                                b Product or service                               INSTALLATION/ENVIRONMENTS
                                                                                                                                                                                              ..............................................
      3   At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
          nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation . . . . . . . . . . . . . . . .                                                                                                                                          X
      4   At the end of the tax year, did the corporation:
        a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
          foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
          below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            X
                                                                                                                                (ii) Employer                                      (iii) Country of                              (iv) Percentage of               (v) If Percentage in (iv) Is 100%,
                                            (i) Name of Corporation                                                             Identification                                      Incorporation                                   Stock Owned                         Enter the Date (if any)
                                                                                                                               Number (if any)                                                                                                                        a Qualified Subchapter S
                                                                                                                                                                                                                                                                   Subsidiary Election Was Made




          b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
            capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
            trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                               X
                                                                                                                                (ii) Employer                                                                                   (iv) Country of                                (v) Maximum Percentage
                                                 (i) Name of Entity                                                             Identification                       (iii) Type of Entity                                        Organization                                       Owned in Profit,
                                                                                                                               Number (if any)                                                                                                                                      Loss, or Capital




     5a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                                 X
         If “Yes,” complete lines (i) and (ii) below.
         (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  ............................
         (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       ............................
      b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? . . . . . . . . . . . . . . . .                                                                                                                                        X
         If “Yes,” complete lines (i) and (ii) below.
         (i) Total shares of stock outstanding at the end of the tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  ............................
         (ii) Total shares of stock outstanding if all instruments were executed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         ............................
     6   Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
         information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      X
     7   Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . . . . . . . . . . . . . . . . . . .
         If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
         Instruments.
     8   If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
         basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
         (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
         gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . . . . . . . . . . . . . . .                                                        $ ...........................
     9   Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
         in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       X
    10   Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                         X
       a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
       b The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
         preceding the current tax year are more than $26 million and the corporation has business interest expense.
       c The corporation is a tax shelter and the corporation has business interest expense.
         If “Yes,” complete and attach Form 8990.
    11   Does the corporation satisfy both of the following conditions? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          X
       a The corporation’s total receipts (see instructions) for the tax year were less than $250,000.
       b The corporation’s total assets at the end of the tax year were less than $250,000.
         If “Yes,” the corporation is not required to complete Schedules L and M-1.
                                                                                                                                                                                                                                                                               Form         1120-S (2020)

    DAA




                                                                                       Case 22-30388-thp11                                                   Doc 43                      Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form 1120-S (2020)                     GUILDWORKS, LLC                                                                                                     XX-XXXXXXX                                                                       Page 3
     Schedule B Other Information (see instructions) (continued)                                                                                                                                                                           Yes        No
      12 During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
         terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      X
         If “Yes,” enter the amount of principal reduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               $ .........................
     13 During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions . . . . . . . . . . . . . .                                                                                                X
     14a Did the corporation make any payments in 2020 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                X
       b If “Yes,” did the corporation file or will it file required Forms 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              X
     15 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?                                                                                                                                                                 X
         If "•Yes," enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   $ .........................
     Schedule K Shareholders' Pro Rata Share Items                                                                                                                                                                                            Total amount
               1 Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     1           -308,512
               2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           2
               3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     3a
                b Expenses from other rental activities (attach statement) . . . . . . . . . . . . . . . . .                                                               3b
                c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       Income (Loss)




                                                                                                                                                                                                                                      3c
               4 Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               4
               5 Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                5a
                                 b Qualified dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 5b
               6 Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       6
               7 Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          7
               8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         8a
                b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 8b
                c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . .                                                              8c
               9 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   9
              10 Other income (loss) (see instructions) . . . . . . . . . . . . Type                                                                                                                                                  10
              11 Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             11
       Deductions




              12a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .See                 . . . . . . . . .Stmt
                                                                                                                                                                                                        . . . . . . . . . . .2....    12a              2,472
                b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           12b
                c Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . Type                                              ..............................................                                              12c
                d Other deductions (see instructions) . . . . . . . . . . . . . . . Type                                                                                                                                              12d
              13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            13a
                b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   13b
                c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . .                                                                                          13c
       Credits




                d Other rental real estate credits (see instructions) . Type                                                              ..............................................                                              13d
                e Other rental credits (see instructions) . . . . . . . . . . . . Type                                                    ..............................................                                              13e
                f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          13f
                g Other credits (see instructions) . . . . . . . . . . . . . . . . . . . Type                                                                                                                                         13g
              14a Name of country or U.S. possession                                            ...................................................................
                b Gross income from all sources . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               14b
                 c Gross income sourced at shareholder level . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            14c
                   Foreign gross income sourced at corporate level
                 d Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    14d
                e Foreign branch category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       14e
                f Passive category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              14f
                g General category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                14g
       Foreign Transactions




                h Other (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      14h
                   Deductions allocated and apportioned at shareholder level
                i Interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              14i
                j Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14j
                   Deductions allocated and apportioned at corporate level to foreign source income
                k Reserved for future use . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     14k
                l Foreign branch category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       14l
                m Passive category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              14m
                n General category . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                14n
                o Other (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      14o
                   Other information
                p Total foreign taxes (check one):                                             Paid                         Accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 14p
                q Reduction in taxes available for credit (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        14q
                r Other foreign tax information (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    DAA                                                                                                                                                                                                                     Form     1120-S (2020)


                                                                        Case 22-30388-thp11                                      Doc 43                 Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form 1120-S (2020) GUILDWORKS, LLC                                                                                                                              XX-XXXXXXX                                                                      Page 4
    Schedule K Shareholders' Pro Rata Share Items (continued)                                                                                                                                                                       Total amount
           15a Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     15a
    Minimum Tax
    (AMT) Items
     Alternative




             b Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     15b
             c Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  15c
             d Oil, gas, and geothermal properties – gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        15d
             e Oil, gas, and geothermal properties – deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    15e
             f Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      15f
    Items Affecting




           16a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              16a
                                     Shareholder




             b Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   16b                      154,125
                                       Basis




             c Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          16c                       14,452
             d Distributions (attach statement if required) (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             16d
             e Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            16e
               ciliation Information




           17a Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   17a
                            Other




             b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       17b
             c Dividend distributions paid from accumulated earnings and profits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       17c
             d Other items and amounts (attach statement) . . . . . . . . . . . . . . . See                          . . . . . . . . . Statement
                                                                                                                                       . . . . . . . . . . . . . . . . . . . . . .3................
               Recon-




                                                   18     Income (loss) reconciliation. Combine the amounts on lines 1 through 10 in the far right
                                                          column. From the result, subtract the sum of the amounts on lines 11 through 12d and 14p                                            ............            18                 -310,984
      Schedule L                                                     Balance Sheets per Books                                             Beginning of tax year                                                      End of tax year

                                                                       Assets                                                       (a)                           (b)                                      (c)                                (d)
     1                                     Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      26,564                                                                      34,730
     2a                                    Trade notes and accounts receivable . . . . .                                            188,604                                                              264,993
      b                                    Less allowance for bad debts . . . . . . . . . . . . .                               (     1,214)                      187,390 (                                1,214)                             263,779
     3                                     Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            492,749                                                                     483,232
     4                                     U.S. government obligations . . . . . . . . . . . . . .
     5                                     Tax-exempt securities (see instructions) . .
     6                                                                                              Stmt 4
                                           Other current assets (attach statement) . . . . . . . . . . . . . .                                                     19,282                                                                      16,282
     7                                     Loans to shareholders . . . . . . . . . . . . . . . . . . . .
     8                                     Mortgage and real estate loans . . . . . . . . . . .
     9                                     Other investments (attach statement) . . . . . . . . . . . . . . . .
    10a                                    Buildings and other depreciable assets . . .                                             152,288                                                              216,692
      b                                    Less accumulated depreciation . . . . . . . . . . . (                                     58,802 )                      93,486 (                               91,164)                             125,528
    11a                                    Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . .
      b                                    Less accumulated depletion . . . . . . . . . . . . . . (                                                 )                                    (                                 )
    12                                     Land (net of any amortization) . . . . . . . . . . . .
    13a                                    Intangible assets (amortizable only) . . . . . .
      b                                    Less accumulated amortization . . . . . . . . . . . (                                                    )                                    (                                  )
    14                                     Other assets (attach statement) . . . . . . . . . . . . . . .
    15                                     Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             819,471                                                                     923,551
                                                 Liabilities and Shareholders' Equity
    16                                     Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . .                                                     113,923                                                                     251,047
    17                                     Mortgages, notes, bonds payable in less than 1 year                                                                    527,269                                                                     664,294
    18                                                                                              Stmt 5
                                           Other current liabilities (attach statement) . . . . . . . . . . . . .                                                 136,547                                                                     137,574
    19                                     Loans from shareholders . . . . . . . . . . . . . . . . . .
    20                                     Mortgages, notes, bonds payable in 1 year or more
    21                                     Other liabilities (attach statement) . . . . . . . . . . . . .
    22                                     Capital stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    23                                     Additional paid-in capital . . . . . . . . . . . . . . . . . .
    24                                     Retained earnings . . . . . . . . . . . . . . . . . . . . . . . . .                                                     41,732                                                                -129,364
    25                                     Adjustments to shareholders'
                                           equity (attach statement) . . . . . . . . . . . . . . . . . . . . . . . .
    26                                     Less cost of treasury stock . . . . . . . . . . . . . . . .                                                  (                            )                                          (                         )
    27                                     Total liabilities and shareholders' equity . .                                                                         819,471                                                                     923,551
                                                                                                                                                                                                                                       Form   1120-S (2020)




    DAA




                                                                                                                Case 22-30388-thp11                     Doc 43      Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form 1120-S (2020)                  GUILDWORKS, LLC                                                                                XX-XXXXXXX                                                      Page 5
     Schedule M-1                      Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                     Note: The corporation may be required to file Schedule M-3. See instructions.
      1   Net income (loss) per books . . . . . . . . . . . .                        -171,311 5 Income recorded on books this year not included
      2   Income included on Schedule K, lines 1, 2, 3c, 4,                                      on Schedule K, lines 1 through 10 (itemize):
          5a, 6, 7, 8a, 9, and 10, not recorded on books this                                  a Tax-exempt interest $ . . . . . . . . . . . . . . . . . . . . . . . . . .
          year (itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             . . . . Stmt
                                                                                                         . . . . . . . . . . .7
                                                                                                                              . . . . . . . . . . . . . . . . .154,125
                                                                                                                                                               ...............                154,125
      3 Expenses recorded on books this year                                                  6 Deductions included on Schedule K,
          not included on Schedule K, lines 1                                                    lines 1 through 12 and 14p, not charged
          through 12 and 14p (itemize):                                                          against book income this year (itemize):
       a Depreciation $ . . . . . . . . . . . . . . . . . . . . . . . . . .                    a Depreciation $ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       b Travel and                $ . . . . . . . . . . . . . 14,452
          entertainment                                        .............                     . ..............................................
         . .Stmt
            . . . . . . . . . . .6
                                 ...............................                       14,452 7 Add lines 5 and 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  154,125
      4 Add lines 1 through 3 . . . . . . . . . . . . . . . . . . .                  -156,859 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4                          -310,984
     Schedule M-2 Analysis of Accumulated Adjustments Account, Shareholders’ Undistributed Taxable Income
                  Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                  (see instructions)
                                                                                                (a) Accumulated          (b) Shareholders'             (c) Accumulated               (d) Other adjustments
                                                                                               adjustments account     undistributed taxable         earnings and profits                    account
                                                                                                                      income previously taxed

       1   Balance at beginning of tax year . . . . . . . . . .                                         41,732
       2   Ordinary income from page 1, line 21 . . . . .
       3   Other additions . . . . . . . . . . . . . . .Stmt   . . . . . . . . . . .8..                 215                                                                                   154,125
       4   Loss from page 1, line 21 . . . . . . . . . . . . . . . . .                     (        308,512 )
       5   Other reductions . . . . . . . . . . . . .Stmt      . . . . . . . . . . .9..    (         16,924)                                                                     (                           )
       6   Combine lines 1 through 5 . . . . . . . . . . . . . . . .                               -283,489                                                                                   154,125
       7   Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       8   Balance at end of tax year. Subtract line 7
           from line 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           -283,489                                                                                   154,125
                                                                                                                                                                                      Form    1120-S (2020)




    DAA




                                                                           Case 22-30388-thp11                       Doc 43        Filed 03/24/22
19129 02/03/2022 2:00 PM




                                                                                                                                                                                                                               671120
                                                                                                                                                  Final K-1                        Amended K-1                            OMB No. 1545-0123

    Schedule K-1                                                                                                            2020             Part III           Shareholder's Share of Current Year Income,
    (Form 1120-S)                                                                                     For calendar year 2020, or tax year                       Deductions, Credits, and Other Items
    Department of the Treasury                                                                                                              1       Ordinary business income (loss)              13   Credits
    Internal Revenue Service
                                                                                                                                                              -308,512
                                      beginning                                                        ending                                2      Net rental real estate income (loss)


    Shareholder's Share of Income, Deductions,                                                                                               3      Other net rental income (loss)
    Credits, etc.      See back of form and separate instructions.

                                                                                                                                            4       Interest income
                        Part I             Information About the Corporation
        A Corporation's employer identification number                                                                                       5a     Ordinary dividends

                        XX-XXXXXXX
        B               Corporation's name, address, city, state, and ZIP code                                                               5b     Qualified dividends                          14   Foreign transactions
                        GUILDWORKS, LLC
                                                                                                                                             6      Royalties
                        13522 SE PHEASANT CT
                        MILWAUKIE            OR 97222                                                                                        7      Net short-term capital gain (loss)


        C IRS Center where corporation filed return                                                                                          8a     Net long-term capital gain (loss)

                        e-file
                                                                                                                                             8b     Collectibles (28%) gain (loss)
                        Part II            Information About the Shareholder
        D Shareholder's identifying number                                                                                                  8c      Unrecaptured section 1250 gain


        E               Shareholder's name, address, city, state, and ZIP code                                                              9       Net section 1231 gain (loss)
                        MARC RICKETTS
                        11861 SE 28TH AVE                                                                                                   10      Other income (loss)                          15   Alternative minimum tax (AMT) items


                        MILWAUKIE                                                     OR 97222


        F               Current year allocation percentage
                                                                       ..............                   100.000000                  %


        G Shareholder’s number of shares
                          Beginning of tax year . . . . . . . . . . . . . . . . . . . . . .                                   100
                          End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . .                               100
                                                                                                                                            11      Section 179 deduction                        16   Items affecting shareholder basis

        H Loans from shareholder                                                                                                                                                                 B               154,125
                          Beginning of tax year . . . . . . . . . . . . . . . . . . . . . .       $                                0 12             Other deductions

                          End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . .   $                                0 A                                2,472                      C*                 14,452




                                                                                                                                                                                                 17   Other information
     For IRS Use Only




                                                                                                                                                                                             V*                                     STMT
                                                                                                                                                                                             AC*                                    STMT



                                                                                                                                            18         More than one activity for at-risk purposes*
                                                                                                                                            19         More than one activity for passive activity purposes*

                                                                                                                                                   * See attached statement for additional information.
    For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.
                                                                            www.irs.gov/Form1120S                                                                                                     Schedule K-1 (Form 1120-S) 2020
    DAA


                                                                                           Case 22-30388-thp11                              Doc 43              Filed 03/24/22
19129 02/03/2022 2:00 PM




                                                                                                   Depreciation and Amortization
    Form      4562                                                                                (Including Information on Listed Property)
                                                                                                                                                                                                                                  OMB No. 1545-0172

                                                                                                                                                                                                                                       2020
    Department of the Treasury
                                                                                                  Attach to your tax return.
                                                                                                                                                                                                                                   Attachment
    Internal Revenue Service                 (99)                           Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                                Sequence No.     179
    Name(s) shown on return                                                                                                                                                                                   Identifying number
          GUILDWORKS, LLC                                                                                                                                                                                      XX-XXXXXXX
    Business or activity to which this form relates
          Regular Depreciation
       Part I                  Election To Expense Certain Property Under Section 179
                               Note: If you have any listed property, complete Part V before you complete Part I.
      1       Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1        1,040,000
      2       Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          2
      3       Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             3        2,590,000
      4       Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           4
      5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions . . . . . . .                                                        5
      6                                             (a) Description of property                                                              (b) Cost (business use only)                         (c) Elected cost




     7   Listed property. Enter the amount from line 29 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  7
     8   Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                8
     9   Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                9
    10 Carryover of disallowed deduction from line 13 of your 2019 Form 4562 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      10
    11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions .                                                                                              11
    12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     12
    13 Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12 . . . . . . . . .                                          13
    Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
       Part II                 Special Depreciation Allowance and Other Depreciation (Don’t include listed property. See instructions.)
    14        Special depreciation allowance for qualified property (other than listed property) placed in service
              during the tax year. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   14
    15        Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            15
    16        Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16                    2,368
       Part III                MACRS Depreciation (Don’t include listed property. See instructions.)
                                                                                                                                Section A
    17        MACRS deductions for assets placed in service in tax years beginning before 2020 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                            17                  27,390
    18        If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here . . . . . . . .
                                           Section B—Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                            (b) Month and year                  (c) Basis for depreciation               (d) Recovery
                   (a) Classification of property                                placed in                      (business/investment use                                       (e) Convention                 (f) Method       (g) Depreciation deduction
                                                                                  service                         only–see instructions)                     period

    19a        3-year        property
      b        5-year        property
      c        7-year        property                                                                                            64,404                      7.0                      MQ                  200DB                               2,604
      d       10-year        property
      e       15-year        property
      f       20-year        property
      g       25-year        property                                                                             S/L                                      25 yrs.
          h   Residential rental                                                                    MM            S/L                                     27.5 yrs.
              property                                                                              MM            S/L                                     27.5 yrs.
          i   Nonresidential real                                                                   MM            S/L                                      39 yrs.
              property                                                                              MM            S/L
                             Section C—Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
    20a       Class life                                                                                          S/L
      b       12-year                                                                 12 yrs.                     S/L
      c       30-year                                                                 30 yrs.       MM            S/L
      d       40-year                                                                 40 yrs.       MM            S/L
       Part IV                 Summary (See instructions.)
    21   Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 21
    22   Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
         here and on the appropriate lines of your return. Partnerships and S corporations—see instructions . . . . . . . . . . . . . .                                                                                 22                  32,362
    23 For assets shown above and placed in service during the current year, enter the
         portion of the basis attributable to section 263A costs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  23
    For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                  Form    4562 (2020)
    DAA                                                                                                                                             There are no amounts for Page 2

                                                                            Case 22-30388-thp11                                           Doc 43                   Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form      1125-E                                                                                      Compensation of Officers
                                                                                                                                                                                                                                           OMB No. 1545-0123
    (Rev. October 2016)                                                         Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
    Department of the Treasury
    Internal Revenue Service                                Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
    Name                                                                                                                                                                                                       Employer identification number

          GUILDWORKS, LLC                                                                                                                                                                                    XX-XXXXXXX
    Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.
                                                                                                                                                             (c) Percent of                    Percent of stock owned
                                              (a) Name of officer                                                  (b) Social security number              time devoted to                                                                   (f) Amount of
                                                                                                                        (see instructions)                      business                  (d) Common                (e) Preferred            compensation


     1    MARC RICKETTS                                                                                                                                  100.000               %     100.000 %                                      %            138,397

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

                                                                                                                                                                               %                           %                        %

      2       Total compensation of officers                         ...........................................................................................                                                                2                138,397

      3       Compensation of officers claimed on Form 1125-A or elsewhere on return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  3

      4  Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
         appropriate line of your tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    4                138,397
    For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                  Form   1125-E   (Rev. 10-2016)




    DAA




                                                                             Case 22-30388-thp11                                          Doc 43                   Filed 03/24/22
 19129 GUILDWORKS, LLC                                                                                      02/03/2022 2:00 PM
 XX-XXXXXXX                                          Federal Asset Report
 FYE: 12/31/2020                                        Form 1120-S, Page 1

                                                   Date                  Bus Sec        Basis
Asset                   Description             In Service     Cost       % 179 Bonus for Depr     Per Conv Meth   Prior       Current


7-year GDS Property:
  27 TECHNOLOGY EQUIPMENT                        9/15/20         4,253                     4,253    7 MQ200DB              0         456
  28 PRODUCTION EQUIP                           12/31/20        60,151                    60,151    7 MQ200DB              0       2,148
                                                                64,404                    64,404                           0       2,604


Prior   MACRS:
   1    APPLE MACBOOK PRO                        1/01/18         1,445                     1,445    5   HY 200DB       751           278
   5    MACBOOK PRO                              1/18/18           190                       190    5   HY 200DB        99            36
   6    INTEL DUO MAC                            1/01/18           130                       130    5   HY 200DB        67            25
   7    OFFICE COMPUTER                          1/01/18           196                       196    5   HY 200DB       102            37
   8    TECHNOLOGY EQUIPMENT                     1/01/18           136                       136    5   HY 200DB        71            26
   9    PALLET RACKS                             1/01/18           395                       395    5   HY 200DB       205            76
  10    CUTTING TABLES                           1/01/18        29,023                    29,023    7   HY 200DB    11,254         5,076
  11    PRODUCTION ASSETS                        1/01/18         3,434                     3,434    7   HY 200DB     1,332           600
  12    CHAIN HOIST                              1/01/18         1,206                     1,206    7   HY 200DB       468           211
  13    EQUIPMENT                                1/01/18         1,326                     1,326    7   HY 200DB       514           232
  14    PRODUCTION EQUIPMENT                     1/01/18         3,895                     3,895    7   HY 200DB     1,510           682
  15    TECHNOLOGY EQUIPMENT                     9/19/18         5,000                     5,000    5   HY 200DB     2,600           960
  16    AUTO TOOL                                1/17/18         5,600                     5,600    7   HY 200DB     2,171           980
  17    WELDING TOOL                             3/14/18        50,000                    50,000    7   HY 200DB    19,388         8,746
  18    PRODUCTION EQUIPMENT                     5/01/18        14,500                    14,500    7   HY 200DB     5,622         2,537
  19    CABLE BULL TENSIOMETER                  11/27/18         6,711                     6,711    7   HY 200DB     2,602         1,174
  20    CABLE BULL TENSION SENSOR               11/27/18         3,756                     3,756    7   HY 200DB     1,456           657
  21    CABLE BULL TENSION SENSOR               11/27/18         2,681                     2,681    7   HY 200DB     1,039           469
  22    TECHNOLOGY EQUIP                         1/09/19         6,000                     6,000    5   HY 200DB     1,200         1,920
  23    COMPUTER                                 9/20/19         1,080                     1,080    5   HY 200DB       216           346
  24    APPLE                                    9/23/19         1,358                     1,358    5   HY 200DB       272           434
  25    COMPUTER                                12/03/19         1,922                     1,922    5   HY 200DB       384           615
  26    INSTALLATION EQUIP                       6/01/19         5,200                     5,200    7   HY 200DB       743         1,273
                                                               145,184                   145,184                    54,066        27,390


Other   Depreciation:
   2    SOFTWARE                                     1/01/18     4,800                     4,800    3 MOAmort         3,200        1,600
   3    SOFTWARE                                     1/01/18     1,440                     1,440    3 MOAmort           960          480
   4    SOFTWARE                                     1/01/18       864                       864    3 MOAmort           576          288
                  Total Other Depreciation                       7,104                     7,104                      4,736        2,368


                  Total ACRS and Other Depreciation              7,104                     7,104                      4,736        2,368


                  Grand Totals                                 216,692                   216,692                    58,802        32,362
                  Less: Dispositions and Transfers                   0                         0                         0             0
                  Less: Start-up/Org Expense                         0                         0                         0             0
                  Net Grand Totals                             216,692                   216,692                    58,802        32,362




                                             Case 22-30388-thp11           Doc 43    Filed 03/24/22
19129 02/03/2022 2:00 PM




    Form    1125-A                                                                                          Cost of Goods Sold
    (Rev. November 2018)                                                                                                                                                                                                           OMB No. 1545-0123
    Department of the Treasury                                                        Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
    Internal Revenue Service                                                         Go to www.irs.gov/Form1125A for the latest information.
    Name                                                                                                                                                                                            Employer identification number
       GUILDWORKS, LLC                                                                                                                                                                             XX-XXXXXXX
        1     Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1             492,749
        2     Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2             189,272
        3     Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     3             731,978
        4     Additional section 263A costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             4
        5     Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Stmt                . . . . . . . . . . . 10
                                                                                                                                                                                                                                    ....      5             114,137
        6     Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      6          1,528,136
        7     Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                7             483,232
        8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
              appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             8          1,044,904
        9a    Check all methods used for valuing closing inventory:
                (i) X Cost
               (ii)      Lower of cost or market
              (iii)      Other (Specify method used and attach explanation.)                                                                  ..................................................................................
          b   Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . . . . . .
          d   If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
              under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  9d
          e   If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions . . . . . . . . . .                                                                                                      Yes  X No
          f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
              attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  Yes  X No
    For Paperwork Reduction Act Notice, see instructions.                                                                                                                                                              Form     1125-A (Rev. 11-2018)




    DAA




                                                                       Case 22-30388-thp11                                        Doc 43                  Filed 03/24/22
19129 GUILDWORKS, LLC                                                                  2/3/2022 2:00 PM
XX-XXXXXXX                       Federal Statements
FYE: 12/31/2020


               Statement 1 - Form 1120-S, Page 1, Line 19 - Other Deductions
          Description                          Amount
AUTO AND TRUCK                            $       17,925
BANK CHARGES                                      11,134
COMPUTER & INTERNET                                2,851
CONTINUING EDUCATION                               7,762
CONTRACT LABOR                                       945
DUES & SUBSCRIPTIONS                               4,283
EQUIPMENT RENTAL                                   8,932
INSURANCE                                         52,462
LEGAL AND PROFESSIONAL                            67,485
MISCELLANEOUS                                        307
OFFICE EXPENSE                                    22,136
OUTSIDE SERVICES                                   8,052
PAYROLL EXPENSES                                   1,349
POSTAGE                                              705
SMALL TOOLS                                        3,984
SUPPLIES                                           5,361
TRAVEL EXPENSE                                     4,613
UTILITIES                                         11,420
50% of Meals                                      14,453
     Total                                $      246,159


       Statement 2 - Form 1120-S, Page 3, Schedule K, Line 12a - Cash Contributions
                                       Cash                  Cash           Qualified
          Description               Contrib 60%           Contrib 30%      Cash Contrb          Total
CHARITABLE CONTRIBUTIONS           $          2,472     $                 $                 $       2,472
     Total                         $          2,472     $             0   $            0    $       2,472


    Statement 3 - Form 1120-S, Page 4, Schedule K, Line 17d - Other Items and Amounts
                            Description                                                    Amount
Section 199A Information - See Attached Wrk

       Statement 4 - Form 1120-S, Page 4, Schedule L, Line 6 - Other Current Assets
                                              Beginning                     End
          Description                          of Year                    of Year
EMPLOYEE ADVANCES                         $        2,073          $
OTHER CURRENT ASSETS                                 927
SECURITY DEPOSIT                                  16,282                      16,282
     Total                                $       19,282          $           16,282




                                                                                                    1-4



                           Case 22-30388-thp11        Doc 43    Filed 03/24/22
19129 GUILDWORKS, LLC                                                         2/3/2022 2:00 PM
XX-XXXXXXX                       Federal Statements
FYE: 12/31/2020


      Statement 5 - Form 1120-S, Page 4, Schedule L, Line 18 - Other Current Liabilities
                                           Beginning                End
          Description                       of Year               of Year
PAYROLL LIABILITIES                    $      117,033        $      137,574
RETAINER                                       19,514
     Total                             $      136,547        $      137,574


Statement 6 - Form 1120-S, Page 5, Schedule M-1, Line 3 - Expenses on Books Not on Return
          Description                       Amount
Owner's health insurance               $
     Total                             $               0


  Statement 7 - Form 1120-S, Page 5, Schedule M-1, Line 5 - Income on Books Not on Return
          Description                       Amount
PPP Loan Forgiveness                   $      154,125
     Total                             $      154,125


        Statement 8 - Form 1120-S, Page 5, Schedule M-2, Line 3(a) - Other Additions
          Description                       Amount
Other Additions, AAA                   $             215
     Total                             $             215


       Statement 9 - Form 1120-S, Page 5, Schedule M-2, Line 5(a) - Other Reductions
          Description                       Amount
Owner's health insurance               $
Travel & Entertainment                         14,452
Charitable Contributions                        2,472
     Total                             $       16,924




                                                                                           5-9



                           Case 22-30388-thp11    Doc 43   Filed 03/24/22
19129 GUILDWORKS, LLC                                                        2/3/2022 2:00 PM
XX-XXXXXXX                         Federal Statements
FYE: 12/31/2020


                        Statement 10 - Form 1125-A, Line 5 - Other Costs
          Description                        Amount
EQUIPMENT RENTAL                        $       31,138
FREIGHT                                         49,992
MISC                                             2,029
SMALL TOOLS                                      6,001
TRAVEL                                          24,977
     Total                              $      114,137




                                                                                        10



                            Case 22-30388-thp11    Doc 43   Filed 03/24/22
19129 GUILDWORKS, LLC                                                      2/3/2022 2:00 PM
XX-XXXXXXX                      Federal Statements
FYE: 12/31/2020


                                   Employee benefits
            Description                   Amount
                                      $         24,713
    Total                             $         24,713




                          Case 22-30388-thp11    Doc 43   Filed 03/24/22
19129 GUILDWORKS, LLC                                                            2/3/2022 2:00 PM
XX-XXXXXXX                         Federal Statements
FYE: 12/31/2020                       MARC RICKETTS
                                        XXX-XX-XXXX

                   Schedule K-1, Box 16, Code C - Nondeductible Expenses
                                                Shareholder
          Description                             Amount
Page 1 Meals                                $         14,452
Total                                       $         14,452


               Schedule K-1, Box 17, Code AC - Gross Receipts for Section 448(c)
                                                                                 Shareholder
                              Description                                          Amount
8990 Gross Receipts for 2019                                                        2,023,143
8990 Gross Receipts for 2018                                                        1,374,878




                            Case 22-30388-thp11        Doc 43   Filed 03/24/22
Year Ending: December 31, 2020                                                   XX-XXXXXXX

                                      GUILDWORKS, LLC
                                    13522 SE PHEASANT CT
                                    MILWAUKIE, OR 97222

                     Electing out of the Bonus Depreciation Allowance for
                                All Eligible Depreciable Property

The taxpayer elects out of the first-year bonus depreciation allowance under IRC Section 168
(k) for all eligible asset classes of depreciable property acquired after December 31, 2007.
This election applies to all eligible depreciable property placed in service during the tax year.




                       Case 22-30388-thp11           Doc 43     Filed 03/24/22
19129 02/03/2022 2:00 PM




                       2020 Form OR-20-S                                                                                     Oregon Department of Revenue

                       Oregon S Corporation Tax Return
                       Page 1 of 8    • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.


         X       Excise Tax                              Income Tax


         Fiscal year beginning (MM/DD/YYYY)                Fiscal year ending (MM/DD/YYYY)




         See instructions for checkboxes.


                 New name                                New address                              OR-FCG-20                         X      Extension


                 Form OR-37                              REIT/RIC                                 Amended                                  Form OR-24


                 Federal Form 8886                       GILTI included on                        Accounting period change                 Alternative apportionment
                                                         federal form                                                                      request included


         Legal name

         GUILDWORKS, LLC
         Federal employer identification number (FEIN)

        XX-XXXXXXX
         DBA/ABN



         Attn: or c/o, first name                                   Initial   Attn: or c/o, last name



         Current address

         13522 SE PHEASANT CT
         City                                                                                                  State          ZIP code

         MILWAUKIE                                                                                             OR             97222

         Contact first name                                         Initial   Contact last name

         MARC                                                                  RICKETTS
         Contact phone



         Email

         MAR@GUILDWORKS.COM




                       1022
                       150-102-025
                       (Rev. 09-29-20, ver. 01)                                                                               02652001011022




                                                   Case 22-30388-thp11                    Doc 43         Filed 03/24/22
19129 02/03/2022 2:00 PM




                        GUILDWORKS, LLC
                          2020 Form OR-20-S                                                     XX-XXXXXXX                                             Oregon Department of Revenue



                          Page 2 of 8          • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.
         Only complete questions A through D if this is your first return, or the answer changed during this tax year.
         A. Incorporated in (state)                           Incorporated on (date) (MM/DD/YYYY)



         B. State of commercial domicile                  C. Date business activity began in Oregon (MM/DD/YYYY)                        D. Business activity code




         E. List the tax years for which federal waivers of the statute of limitations are in effect and dates on which waivers expire




         F.List the tax years for which your federal taxable income was changed by an IRS audit or by an amended federal return filed during this tax year




         G.If first return, indicate:                      New business                          Successor to previous business


              Name of previous business



              FEIN




         H. If final return, indicate:                     Withdrawn                          Dissolved                        Merged or reorganized


              Name of merged or reorganized corporation



              FEIN




         I.            Utility or telecommunications companies (see instructions).


         J. Enter ordinary business income or loss from federal Form 1120-S . . . . . . . . . . . J.                                                                 -308,512.00

         K. Fill in the amount of your total Oregon sales . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . K.                                        2,005,815.00




                          1022
                          150-102-025
                          (Rev. 09-29-20, ver. 01)                                                                                                        02652001021022




                                                                 Case 22-30388-thp11                                  Doc 43         Filed 03/24/22
19129 02/03/2022 2:00 PM




                          GUILDWORKS, LLC
                            2020 Form OR-20-S                                                                     XX-XXXXXXX                                        Oregon Department of Revenue



                             Page 3 of 8              • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.


         S corporations without built-in gains or excess net passive income, fill in your apportionment percentage on
         line 6 then enter -0- on lines 7, 8, and 10 and go to line 11.

            1. Income taxed on federal Form 1120-S from: (a) Built-in gains (see
               instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .1a.



                  (b) Excess net passive income (see instructions)                                            . . . . . . . . . . . . . . . . . . .1b.




                  Total: Line 1a plus line 1b                       ...................................                           Total 1c.

            2. Total additions from Schedule OR-ASC-CORP, Section A, (only if apply
               to amounts included in line 1, see instructions) . . . . . . . . . . . . . . . . . . . . . . 2.

            3. Total subtractions from Schedule OR-ASC-CORP, Section B, (only if
               apply to amounts included in line 1, see instructions) . . . . . . . . . . . . . . . 3.
            4. S corporation income before net loss deduction (line 1c plus line 2,
               minus line 3) If income is entirely from Oregon sources, continue.
               If from both Oregon and other states, see Schedule OR-AP and
               continue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.                                           0.00

            5. Net loss from prior years as C corporation (deductible from built-in
                  gain income only) (include schedule, enter as a positive number) . . . . . . . . . 5.


            6. Enter the apportionment percentage from Schedule OR-AP, part 1,
               line 23. Enter 100.0000 if you don’t apportion income . . . . . . . . . . . . . . . 6.                                                         100.0000      %
               You must attach Schedule OR-AP to apportion income.
            7. Oregon taxable income (line 4 minus line 5, or from Schedule OR-AP,
               part 2, line 12) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7.                                             0.00

         Tax
            8. Calculated tax (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.                                                                  0.00

            9. Schedule OR-FCG-20 adjustment (see instructions,
               include schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9.



          10. Total calculated tax (line 8 minus line 9) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10.                                                                           0.00

          11. Minimum tax (see instructions)                                 .....................................                              11.                                        150.00

          12. Tax (greater of line 10 or line 11)                               ...................................                            12.                                         150.00

                                                                                                                                                                                    Continued on next page




                            1022
                             150-102-025
                             (Rev. 09-29-20, ver. 01)                                                                                                                 02652001031022




                                                                            Case 22-30388-thp11                                               Doc 43     Filed 03/24/22
19129 02/03/2022 2:00 PM




                         GUILDWORKS, LLC
                           2020 Form OR-20-S                                                                   XX-XXXXXXX                                  Oregon Department of Revenue



                            Page 4 of 8            • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.



          13. Tax adjustment for installment sales interest (include schedule) . . . 13.



          14. Tax before credits (line 12 plus line 13)                                  ............................                   14.                                       150.00

         Credits
          15. Total carryforward credits from Schedule OR-ASC-CORP, Section D
              (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15.



          16. Tax after carryforward credits (line 14 minus line 15)                                              ..............        16.                                       150.00

          17. LIFO benefit recapture addition (see instructions) . . . . . . . . . . . . . . . . . . 17.




         Net tax
          18. Net tax (line 16 plus line 17, see instructions)                                     ......................               18.                                       150.00

          19. Estimated tax payments from Schedule ES line 7. Include
              payments made with extension . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19.

          20. Tax due. Is line 18 more than line 19? If so, line 18 minus
              line 19 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Tax due 20.                                       150.00
          21. Overpayment. Is line 18 less than line 19? If so, line 19 minus
              line 18 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Overpayment 21.



          22. Penalty due with this return (see instructions)                                      ......................               22.



          23. Interest due with this return (see instructions)                                     ......................               23.



          24. Interest on underpayment of estimated tax (include Form OR-37) . 24.



          25. Total penalty and interest (add lines 22 through 24)                                              ...............         25.



          26. Total due (line 20 plus line 25)                         . . . . . . . . . . . . . . . . . . . . . . . . . . .Total   due 26.                                       150.00
                                                                                                                                                                           Continued on next page




                           1022
                            150-102-025
                            (Rev. 09-29-20, ver. 01)                                                                                                         02652001041022




                                                                        Case 22-30388-thp11                                            Doc 43   Filed 03/24/22
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                          GUILDWORKS, LLC
                            2020 Form OR-20-S                                                                   XX-XXXXXXX                                      Oregon Department of Revenue



                            Page 5 of 8              • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.




          27. Refund available (line 21 minus line 25)                                       .................              Refund 27.

          28. Amount of refund to be credited to your open estimated
              tax account . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28.



          29. Net refund (line 27 minus line 28) . . . . . . . . . . . . . . . . . . . . . . .Net refund 29.



         Schedule SM—Oregon modifications passed through to shareholders
         Federal taxable income passed through to the shareholders is adjusted to the extent that items of income, loss, or deduction of the shareholder are
         required to be adjusted under the provisions of Oregon Revised Statutes, Chapters 314 and 316. Indicate which federal Schedule K-1 line item each
         modification is for. Don’t use Schedule OR-ASC-CORP codes for this section.



         Additions
            1. Interest on government bonds of other states                                           .......................                 1.
                  K-1 line




            2. Gain or loss on the sale of depreciable property . . . . . . . . . . . . . . . . . . . . . 2.
                  K-1 line




            3. Other addition (include schedule)                                   ..................................                         3.



            4. Total Oregon additions                        ...............................................                                  4.



         Subtractions
            5. Interest from U.S. government, such as Series EE and
               HH bonds . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.
                  K-1 line




            6. Gain or loss on the sale of depreciable property                                            ....................               6.
                  K-1 line




            7. Work opportunity credit wage reductions                                       ............................                     7.
                  K-1 line



                                                                                                                                                                                Continued on next page



                            1022
                            150-102-025
                            (Rev. 09-29-20, ver. 01)                                                                                                              02652001051022




                                                                           Case 22-30388-thp11                                             Doc 43    Filed 03/24/22
19129 02/03/2022 2:00 PM




                         GUILDWORKS, LLC
                            2020 Form OR-20-S                                                                  XX-XXXXXXX                                      Oregon Department of Revenue



                            Page 6 of 8              • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.



            8. Other subtraction (include schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8.



            9. Total Oregon subtractions                           ...........................................                               9.



         Schedule ES—Estimated tax payments, other prepayments, and refundable credits
         1. Quarter 1
         Name of payer



         Payer's FEIN                                                                   Date paid




            1. Amount paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.



         2. Quarter 2
         Name of payer



         Payer's FEIN                                                                   Date paid




            2. Amount paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.



         3. Quarter 3
         Name of payer



         Payer's FEIN                                                                   Date paid




            3. Amount paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.

                                                                                                                                                                               Continued on next page




                            1022
                            150-102-025
                            (Rev. 09-29-20, ver. 01)                                                                                                             02652001061022




                                                                           Case 22-30388-thp11                                           Doc 43     Filed 03/24/22
19129 02/03/2022 2:00 PM




                          GUILDWORKS, LLC
                             2020 Form OR-20-S                                                                     XX-XXXXXXX                                       Oregon Department of Revenue



                             Page 7 of 8              • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.


         4. Quarter 4
         Name of payer



         Payer's FEIN                                                                      Date paid




            4. Amount paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4.



            5. Overpayment of another year’s tax applied as a credit against this
               year’s tax . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5.



            6. Payments made with extension or other prepayments for this tax year . . . . . . . . 6.
                  Date paid (MM/DD/YYYY)




            7. Reserved              .............................................................                                                7.



            8. Total prepayments (carry to line 19 on previous page)                                                    ..............            8.

                                                                                                                                                                                    Continued on next page




                             1022
                             150-102-025
                             (Rev. 09-29-20, ver. 01)                                                                                                                 02652001071022




                                                                             Case 22-30388-thp11                                              Doc 43     Filed 03/24/22
19129 02/03/2022 2:00 PM




                      GUILDWORKS, LLC
                        2020 Form OR-20-S                                      XX-XXXXXXX                                     Oregon Department of Revenue



                        Page 8 of 8    • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.


         Under penalty of false swearing, I declare that the information in this return and any enclosures are true, correct, and complete.
             Signature of officer


         X
         Date (MM/DD/YYYY)



         First name of officer                                       Initial     Last name of officer

          MARC                                                                   RICKETTS
         Title of officer

          PRESIDENT

             Signature of preparer other than taxpayer


         X DANICA R. SWANSON, CPA
         Date (MM/DD/YYYY)                                  Phone                                                       Preparer license number

        02/03/2022                                         503-342-2015                                                 15857
         First name of preparer                                      Initial     Last name of preparer

         DANICA                                                      R           SWANSON, CPA
         Address of preparer

         14819 SE 82ND DRIVE
         City                                                                                                   State           ZIP code

         CLACKAMAS                                                                                              OR              97015

         Mail refund returns and no tax due returns to:                  Mail tax-to-pay returns with payment to:
         Refund, PO Box 14777, Salem OR 97309-0960                       Oregon Department of Revenue, PO Box 14790, Salem OR 97309-0470
         Do not include a payment voucher with your return. Include a complete copy of your federal Form 1120-S and schedules, including all federal
         K-1s or K-1 summary (see instructions).




                        1022
                        150-102-025
                        (Rev. 09-29-20, ver. 01)                                                                                02652001081022




                                                    Case 22-30388-thp11                     Doc 43        Filed 03/24/22
19129 02/03/2022 2:00 PM




                       Form OR-20-V                                                                                         Oregon Department of Revenue

                       Oregon Corporation Tax Payment Voucher
                       Page 1 of 1    • Use UPPERCASE letters. • Use blue or black ink. • Print actual size (100%). • Don’t submit photocopies or use staples.
         Tax year begins (MM/DD/YYYY)                      Tax year ends (MM/DD/YYYY)

         01/01/2020                                        12/31/2020

         Contact name


         MARC RICKETTS
         Legal name of filer on tax return


         GUILDWORKS, LLC
         Federal employer identification number (FEIN)

         XX-XXXXXXX
         Filer address

         13522 SE PHEASANT CT
         City                                                                                                  State          ZIP code

         MILWAUKIE                                                                                             OR             97222
         Contact phone




                                                                                                             Payment type (check one)

                                                                                                             X      Original return

                                                                                                                   Estimated payment

                                                                                                                   Amended return




                                                                                                             Enter payment amount

                                              150-102-172
                                              (Rev. 06-29-20, ver. 03)
                                                                                   1022 01                   $                                           150.00

                                                          2002000000261965855GUIL000000000202012310101022013


                                                   Case 22-30388-thp11                    Doc 43         Filed 03/24/22
19129 02/03/2022 2:00 PM




       Form     1120-S                                                       Two Year Comparison Worksheet Page 1                                                                            2019 & 2020
       Name                                                                                                                                                                     Employer Identification Number

       GUILDWORKS, LLC                                                                                                                                                           XX-XXXXXXX
                                                                                                                                                      2019               2020                  Differences
                       Gross profit percentage . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             38.5018              47.9063                  9.4045
                       Net receipts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              2,023,143            2,005,815                 -17,328
    Income
                       Cost of goods sold . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      1,244,196            1,044,904                -199,292
                       Gross profit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                778,947              960,911                 181,964
                       Net gain (loss) from Form 4797 . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Other income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Total income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           778,947               960,911                 181,964
                       Compensation of officers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                140,451               138,397                  -2,054
                       Salaries and wages less employment credits . . . . . . . . . . . . .                                                         65,757               222,424                 156,667
                       Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     5,357                 2,063                  -3,294
                       Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         134,221               132,000                  -2,221
                       Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           19,925                85,680                  65,755
                       Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          114,024               362,738                 248,714
    Deductions         Depreciation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   37,489                32,362                  -5,127
                       Depletion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    9,821             22,887                   13,066
                       Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . .
                       Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      13,349               24,713                  11,364
                       Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      263,615              246,159                 -17,456
                       Total deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        804,009            1,269,423                 465,414
                       Ordinary business income (loss) . . . . . . . . . . . . . . . . . . . . . . .                                               -25,062             -308,512                -283,450
                       Excess net passive income or LIFO recapture tax . . . . . . . .
                       Tax from Schedule D . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Total tax . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       0                       0                       0
                       Estimated tax and prior year overpayment credited . . . . . . .
                       Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Credit for federal tax paid on fuels . . . . . . . . . . . . . . . . . . . . . . . . .
    Tax and            Refund applied for on Form 4466 . . . . . . . . . . . . . . . . . . . . . . . . .                                     (                   )(                      )
    Payments           Total payments and credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Tax due (overpayment) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             0                       0                       0
                       Estimated tax penalty from Form 2220 . . . . . . . . . . . . . . . . . . . .
                       Penalties and interest . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Net tax due (overpayment) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               0                       0                       0
                       Overpayment credited to next year's estimated tax . . .
                       Overpayment refunded . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




                                                                          Case 22-30388-thp11                                                Doc 43     Filed 03/24/22
19129 02/03/2022 2:00 PM




       Form         1120-S                                                   Two Year Comparison Worksheet Page 2                                                                2019 & 2020
       Name                                                                                                                                                            Employer Identification Number

       GUILDWORKS, LLC                                                                                                                                             XX-XXXXXXX
                                                                                                                                             2019               2020                 Differences
                 Ordinary business income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . .                                     -25,062            -308,512                  -283,450
                 Net rental real estate income (loss) . . . . . . . . . . . . . . . . . . . . . . .
                 Other net rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Income
    (Loss)       Dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Net short-term capital gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Net long-term capital gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Net Section 1231 gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Other income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Section 179 deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   334           2,472                     2,138
    Deductions   Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Other deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Low-income housing credit (Section 42(j)(5)) . . . . . . . . . . . . .
                 Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . .
                 Qualified rehabilitation expenditures (rental real estate) . .
    Credits      Other rental real estate credits . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Other rental credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Biofuel producer credit . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Other credits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Total foreign gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Foreign      Total foreign deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Transactions Total foreign taxes
                                               .........................................
                 Reduction in taxes available for credit . . . . . . . . . . . . . . . . . . . . .
                 Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . . . . . .
                 Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    AMT          Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . .
    Items        Oil, gas, and geothermal properties-gross income . . . . . . . .
                 Oil, gas, and geothermal properties-deductions . . . . . . . . . . .
                 Other AMT items . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Items        Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    154,125                 154,125
    Affecting    Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   12,482             14,452                   1,970
    S/H Basis    Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . .
                              Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Other                     Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Information               Dividend distributions paid from accumulated E&P . . . . . . .
                              Income (loss) (if Schedule M-1 is required) . . . . . . . . . . . . . . .                                  -25,396            -310,984                  -285,588




                                                                          Case 22-30388-thp11                                       Doc 43     Filed 03/24/22
19129 02/03/2022 2:00 PM




       Form     1120-S                                                    Two Year Comparison Worksheet Page 3                                                                      2019 & 2020
       Name                                                                                                                                                               Employer Identification Number

       GUILDWORKS, LLC                                                                                                                                                XX-XXXXXXX
                                                                                                                                                2019               2020                 Differences

    Schedule
                       Beginning assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 620,909             819,471                   198,562
       L               Beginning liabilities and equity . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           620,909             819,471                   198,562
                       Ending assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            819,471             923,551                   104,080
                       Ending liabilities and equity . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        819,471             923,551                   104,080
                       Net income (loss) per books . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            -37,878            -171,311                  -133,433
                       Taxable income not on books . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Schedule           Book expenses not deducted . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    12,482             14,452                   1,970
     M-1               Income on books not on return . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       154,125                 154,125
                       Return deductions not on books . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Income (loss) per return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       -25,396            -310,984                  -285,588
                       Balance at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              79,610              41,732                   -37,878
    Schedule
                       Ordinary income (loss) from page 1 . . . . . . . . . . . . . . . . . . . . . . .                                     -25,062            -308,512                  -283,450
     M-2               Other additions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      215                       215
     AAA               Other reductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    12,816          16,924                     4,108
                       Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Balance at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          41,732        -283,489                  -325,221
    Schedule           Balance at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     M-2               Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     PTI               Balance at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Schedule           Balance at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     M-2               Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     E&P               Balance at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Balance at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Schedule           Other additions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     154,125                 154,125
     M-2               Other reductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     OAA               Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Balance at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            154,125                 154,125
                       Total income (loss) items:
                        Income (loss) per income statement . . . . . . . . . . . . . . . . . . . .
                        Temporary difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                        Permanent difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                        Income (loss) per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Total expense/deduction items:
                        Expense per income statement . . . . . . . . . . . . . . . . . . . . . . . . . .
                        Temporary difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    Schedule            Permanent difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
     M-3
                        Deduction per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Other items with no differences:
                        Income (loss) per income statement . . . . . . . . . . . . . . . . . . . .
                        Income (loss) per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                       Reconciliation totals:
                        Income (loss) per income statement . . . . . . . . . . . . . . . . . . . .
                        Temporary difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                        Permanent difference . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                        Income (loss) per tax return . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




                                                                       Case 22-30388-thp11                                             Doc 43     Filed 03/24/22
